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                                      UNITED STATES DISTRICT COURT
                                   NORTHERN DISTRICT OF TEXAS DALLAS DIVISION

UNITED STATES OF AMERICA                                            §    AMENDED JUDGMENT IN A CRIMINAL CASE
                                                                    §
v.                                                                  §
                                                                    §    Case Number: 3:15-CR-00307-M(13)
NICOLE LEEDY                                                        §    USM Number: 49891-177
                                                                    §    Robert O. Jenkins
                                                                    §    Defendant’s Attorney

THE DEFENDANT:
 ☐ pleaded guilty to count(s)
     pleaded guilty to count(s) before a U.S. Magistrate
 ☒
     Judge, which was accepted by the court.                   Count 1 of the Indictment, filed July 8, 2015.
     pleaded nolo contendere to count(s) which was
 ☐
     accepted by the court
     was found guilty on count(s) after a plea of not
 ☐
     guilty

The defendant is adjudicated guilty of these offenses:
 Title & Section / Nature of Offense                                                               Offense Ended            Count

 21:846 Conspiracy to Distribute a Controlled Substance                                            07/08/2015               1




The defendant is sentenced as provided in pages 2 through 7 of this judgment. The sentence is imposed pursuant to the Sentencing
Reform Act of 1984.

 ☐ The defendant has been found not guilty on count(s)
 ☐ Count(s) ☐ is ☐ are dismissed on the motion of the United States

         It is ordered that the defendant must notify the United States attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of material changes in economic
circumstances.
                                                                  July 15, 2016
                                                                  Date of Imposition of Judgment



                                                                  Signature of Judge

                                                                  BARBARA M. G. LYNN
                                                                  CHIEF UNITED STATES DISTRICT JUDGE
                                                                  Name and Title of Judge

                                                                  November 10, 2020
                                                                  Date
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DEFENDANT:                NICOLE LEEDY
CASE NUMBER:              3:15-CR-00307-M(13)

                                                     IMPRISONMENT

The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a total term of:

ONE HUNDRED AND EIGHTY-EIGHT (188) MONTHS.

The appropriate guideline sentence is 200 months. However, pursuant to USSG §5G1.3(b), the Court finds the defendant is
entitled to 12 months and 13 days credit for time she has already served in the Texas Department of Criminal Justice -
Institutional Division for her related state convictions for Possession With Intent to Deliver Controlled Substance,
Methamphetamine, Case Nos. 2015-CR-8834 and 2015-CR-8835, that were imposed in the 399th District Court of Bexar
County in San Antonio, Texas. Therefore, the sentence is adjusted to 188 months. This sentence shall run concurrently with
the remainder of the defendant's undischarged sentences in the same cases, as well as any sentence imposed in the defendant's
pending parole revocation for Case No. 2008-CR-11402.

 ☒ The court makes the following recommendations to the Bureau of Prisons:
        The Court recommends that the Defendant receive drug treatment while incarcerated, if eligible.



 ☒ The defendant is remanded to the custody of the United States Marshal.
 ☐ The defendant shall surrender to the United States Marshal for this district:

          ☐ at                                     ☐       a.m.        ☐   p.m.    on

          ☐ as notified by the United States Marshal.

 ☐ The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:

          ☐ before 2 p.m. on
          ☐ as notified by the United States Marshal.
          ☐ as notified by the Probation or Pretrial Services Office.


                                                             RETURN
I have executed this judgment as follows:


        Defendant delivered on                                    to


at                                     , with a certified copy of this judgment.




                                                                                        UNITED STATES MARSHAL

                                                                                                   By
                                                                                    DEPUTY UNITED STATES MARSHAL
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DEFENDANT:                 NICOLE LEEDY
CASE NUMBER:               3:15-CR-00307-M(13)

                                                   SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of : THREE (3) YEARS.

The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter, as determined by the court.


                                             MANDATORY CONDITIONS
 1.   You must not commit another federal, state or local crime.
 2.   You must not unlawfully possess a controlled substance.
 3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
      from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
           ☐ The above drug testing condition is suspended, based on the court's determination that you pose a low risk of future
                 substance abuse. (check if applicable)
 4.   ☒ The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.
 5.   ☐ You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence
           of restitution. (check if applicable)
 6. ☒ You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
 7. ☐ You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. § 20901, et
           seq.) as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which
           you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
 8.   ☐ You must participate in an approved program for domestic violence. (check if applicable)

          You must comply with the standard conditions that have been adopted by this court as well as with any additional
 conditions on the attached page.
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DEFENDANT:                   NICOLE LEEDY
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                                 STANDARD CONDITIONS OF SUPERVISION
   1.    the defendant shall not leave the judicial district without the permission of the court or probation officer;
   2.    the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
   3.    the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
   4.    the defendant shall support his or her dependents and meet other family responsibilities;
   5.    the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
   6.    the defendant shall notify the probation officer at least ten days prior to any change in residence or employment;
   7.    the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any controlled
         substance or any paraphernalia related to any controlled substances, except as prescribed by a physician;
   8.    the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
   9.    the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of a
         felony, unless granted permission to do so by the probation officer;
   10.   the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
   11.   the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement officer;
   12.   the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
   13.   as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant’s criminal
         record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the defendant’s
         compliance with such notification requirement.
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DEFENDANT:               NICOLE LEEDY
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                               SPECIAL CONDITIONS OF SUPERVISION

  The defendant shall cooperate in the collection of DNA as directed by the U.S. Probation Officer, as
  authorized by the Justice for All Act of 2004

  The defendant shall participate in a program (inpatient and/or outpatient) approved by the U.S.
  Probation Officer for treatment of narcotic, drug, or alcohol dependency, which will include testing
  for the detection of substance use or abuse. The defendant shall abstain from the use of alcohol
  and/or all other intoxicants during and after completion of treatment. The defendant shall
  contribute to the costs of services rendered (copayment) at a rate of at least $10 per month.

  The defendant shall participate in mental health treatment services as directed by the U.S.
  Probation Officer until successfully discharged. These services may include medications prescribed
  by a license physician. The defendant shall contribute to the costs of services rendered (copayment)
  at a rate of at least $10 per month.
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DEFENDANT:                   NICOLE LEEDY
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                                        CRIMINAL MONETARY PENALTIES
         The defendant must pay the total criminal monetary penalties under the Schedule of Payments page.

                                Assessment               Restitution                 Fine    AVAA Assessment*             JVTA Assessment**
 TOTALS                            $100.00                      $.00                 $.00                $.00                          $.00

           ☐               The determination of restitution is deferred until  An Amended Judgment in a Criminal Case
                           (AO245C) will be entered after such determination.
                          The defendant must make restitution (including community restitution) to the following payees in the
                           amount listed below.

         If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment. However, pursuant to 18 U.S.C.
         § 3664(i), all nonfederal victims must be paid before the United States is paid.




 ☐ Restitution amount ordered pursuant to plea agreement $
 ☐ The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
       the fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on the Schedule
       of Payments page may be subject to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).
 ☐     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
       ☐ the interest requirement is waived for the         ☐ fine                             ☐ restitution
       ☐ the interest requirement for the                       ☐ fine                                ☐ restitution is modified as follows:

* Amy, Vicky, and Andy Child Pornography Victim Assistance Act of 2018, Pub. L. No. 115-299.
** Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22
*** Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed on or after
September 13, 1994, but before April 23, 1996.
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DEFENDANT:                    NICOLE LEEDY
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                                                  SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:

 A      ☐ Lump sum payments of $                                            due immediately, balance due

        ☐ not later than                                        , or

        ☐ in accordance                    ☐      C,          ☐        D,       ☐       E, or       ☐       F below; or

 B      ☐ Payment to begin immediately (may be combined with                    ☐       C,          ☐       D, or              ☐       F below); or

 C      ☐ Payment in equal                             (e.g., weekly, monthly, quarterly) installments of $                      over a period of
                                   (e.g., months or years), to commence                      (e.g., 30 or 60 days) after the date of this judgment;
              or

 D      ☐ Payment in equal 20 (e.g., weekly, monthly, quarterly) installments of $                                  over a period of
                                (e.g., months or years), to commence                         (e.g., 30 or 60 days) after release from
              imprisonment to a term of supervision; or

 E      ☐ Payment during the term of supervised release will commence within                       (e.g., 30 or 60 days) after release
              from imprisonment. The court will set the payment plan based on an assessment of the defendant’s ability to pay at that
              time; or

 F      ☒ Special instructions regarding the payment of criminal monetary penalties:
              It is ordered that the Defendant shall pay to the United States a special assessment of $100.00 for Count 1, which
              shall be paid immediately. Said special assessment shall be paid to the Clerk, U.S. District Court.

Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is
due during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’
Inmate Financial Responsibility Program, are made to the clerk of the court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

       Joint and Several
        See above for Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and
        Several Amount, and corresponding payee, if appropriate.


 ☐ The defendant shall pay the cost of prosecution.
 ☐ The defendant shall pay the following court cost(s):
 ☐ The defendant shall forfeit the defendant’s interest in the following property to the United States:



Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) AVAA assessment, (5) fine
principal, (6) fine interest, (7) community restitution, (8) JVTA assessment, (9) penalties, and (10) costs, including cost of prosecution and court
costs.
